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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


 RALPH BIRCH,
      Plaintiff,

        v.                                            No. 3:20-cv-1790 (VAB)

 TOWN OF NEW MILFORD et al.,
     Defendants.



                                       VERDICT FORM

Part I. LIABILITY

   A. 42 U.S.C. § 1983 – Failure to Intervene in the Fabrication of Evidence


       Did Ralph Birch prove by a preponderance of the evidence that David Shortt violated his
       right to a fair trial by failing to intervene to prevent him from being deprived of liberty
       based on fabricated evidence?

       Yes:   _____          No:     _____

If you have answered “No” to Part I.A., then you should proceed to answer Parts I.B. and
I.C., but you should skip Part II.A. If you answered “Yes” to Part I.A., then you should
proceed to answer Parts I.B. and I.C., and you will answer Part II.A.

   B. 42 U.S.C. § 1983 – Suppression of Material Favorable Evidence

       Did Ralph Birch prove by a preponderance of the evidence that Steven Jordan violated
       his right to a fair trial by suppressing favorable and material evidence?

       Yes:   _____          No:     _____

If you have answered “No” to Part I.B., then you should proceed to answer Part I.C., but you
should skip Part II.B.. If you answered “Yes” to Part I.B., then you should proceed to answer
Parts I.C., and you will answer Part II.B.




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   C. Negligence

       Was the harm likely to be caused to Ralph Birch by David Shortt’s actions or inactions
       imminent and apparent to David Shortt?


       Yes:    _____           No:    _____

       Was the harm likely to be caused to Ralph Birch by Steven Jordan’s actions or inactions
       imminent and apparent to Steven Jordan?

       Yes:    _____           No:    _____

If you have answered “No” to the question in Part I.C. that relates to David Shortt, then you
should skip Parts I.C.1. and I.C.3. that relate to David Shortt, and proceed to either Part II or
Part III, depending on your answers to Parts I.A. and I.B.

If you answered “Yes” to the Part I.C. question that relates to David Shortt, then you should
proceed to answer Parts I.C.1. and I.C.3.

If you have answered “No” to the question in Part I.C. that relates to Steven Jordan, then you
should skip Part I.C.1. that relates to Steven Jordan, Part I.C.2., and Part I.C.3. that relates to
Steven Jordan, then you should proceed to either Part II or Part III, depending on your
answers to Parts I.A. and I.B.

If you answered “Yes” to the Part I.C. question that relates to Steven Jordan, then you should
proceed to answer Part I.C.1. that relates to Steven Jordan, Part I.C.2., and Part I.C.3. that
relates to Steven Jordan.

   1. Common-Law Negligence

       a. Did Ralph Birch prove by a preponderance of the evidence that David Shortt is liable
          for common-law negligence against Ralph Birch?

           Yes:        _____          No:     _____

       b. Did Ralph Birch prove by a preponderance of the evidence that Steven Jordan is
          liable for common-law negligence against Mr. Birch?

           Yes:        _____          No:     _____




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   2. Statutory Negligence

       a. Did Ralph Birch prove by a preponderance of the evidence that Steven Jordan is
          liable for statutory negligence against Mr. Birch?

           Yes:       _____          No:     _____

   3. Negligent Infliction of Emotional Distress

       a. Did Ralph Birch prove by a preponderance of the evidence that David Shortt is liable
          for negligent infliction of emotional distress against Ralph Birch?

           Yes:       _____          No:     _____


       b. Did Ralph Birch prove by a preponderance of the evidence that Steven Jordan is
          liable for negligent infliction of emotional distress against Ralph Birch?

           Yes:       _____          No:     _____

If you have answered “No” as to any of the questions in Parts I.C.1., I.C.2. and I.C.3., then
you should skip the questions related to any such question in Part II. If you have answered
“Yes” as to any of the questions in Parts I.C.1., I.C.2. and I.C.3., please proceed to answer the
questions related to any such question in Part II.

Part II. DAMAGES

   A. 42 U.S.C. § 1983 – Failure to Intervene in the Fabrication of Evidence

           1. Compensatory Damages

               If you answered “Yes” as to question I.A., what amount of compensatory
               damages, if any, do you award Ralph Birch for the injuries proximately caused by
               David Shortt?

               Compensatory Damages:         $ _______________

           2. Punitive Damages

                          a. If you answered “Yes” as to questions I.A. and II.A.1., do you find
                             the awarding of punitive damages to Ralph Birch against David
                             Shortt appropriate?

                              Yes: ___ No: ___



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                    b. If you answered “Yes” to questions I.A., II.A.1., and II.A.2.a.,
                       what amount of punitive damages, if any, do you award Ralph
                       Birch against David Shortt?

                        Punitive Damages: $ _______________

B. 42 U.S.C. § 1983 – Suppression of Material Favorable Evidence

      1. Compensatory Damages

          If you answered “Yes” as to question I.B., what amount of compensatory
          damages, if any, do you award Ralph Birch for the injuries proximately caused by
          Steven Jordan?

          Compensatory Damages:        $ _______________

      2. Punitive Damages

                    a. If you answered “Yes” as to questions I.B. and II.B.1., do you find
                       the awarding of punitive damages to Ralph Birch against Steven
                       Jordan appropriate?

                        Yes: ___ No: ___

                    b. If you answered “Yes” to questions I.B., II.B.1., and II.B.2.a., what
                       amount of punitive damages, if any, do you award Ralph Birch
                       against Steven Jordan?

                        Punitive Damages: $ _______________

C. Negligence

      1. Common-Law Negligence

                    a. Compensatory Damages

                               (1) If you answered “Yes” as to question I.C.1.a., what
                                   amount of compensatory damages, if any, do you award
                                   Ralph Birch for the injuries proximately caused by
                                   David Shortt?

                                   Compensatory Damages: $ _______________




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                             (2) If you answered “Yes” as to questions I.C.1.b., what
                                 amount of compensatory damages, if any, do you award
                                 Ralph Birch for the injuries proximately caused by
                                 Steven Jordan?

                                Compensatory Damages: $ _______________

                b. Punitive Damages

                             (1) If you answered “Yes” as to questions I.C.1.a., and
                                 II.C.1.a(1), do you find the awarding of punitive
                                 damages to Ralph Birch against David Shortt
                                 appropriate?

                                Yes: ___ No: ___

                             (2) If you answered “Yes” as to question I.C.1.b. and
                                 II.C.1.a(2), do you find the awarding of punitive
                                 damages to Ralph Birch against Steven Jordan
                                 appropriate?
                                 Yes: ___ No: ___

   2. Statutory Negligence

      a. Compensatory Damages

         If you answered “Yes” as to question I.C.2.a., what amount of compensatory
         damages, if any, do you award Ralph Birch for the injuries proximately
         caused by Steven Jordan?

         Compensatory Damages: $ _______________

      b. Punitive Damages

         If you answered “Yes” as to questions I.C.2.a. and II.C.2.a., do you find the
         awarding of punitive damages to Ralph Birch against Steven Jordan
         appropriate?

         Yes: ___ No: ___




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           3. Negligent Infliction of Emotional Distress

              a. Compensatory Damages

                                    (1) If you answered “Yes” as to question I.C.3.a., what
                                        amount of compensatory damages, if any, do you award
                                        Ralph Birch for the injuries proximately caused by
                                        David Shortt?

                                        Compensatory Damages: $ _______________

                                    (2) If you answered “Yes” as to question I.C.3.b., what
                                        amount of compensatory damages, if any, do you award
                                        Ralph Birch for the injuries proximately caused by
                                        Steven Jordan?

                                        Compensatory Damages: $ _______________

              b. Punitive Damages
                                    (1) If you answered “Yes” as to questions I.C.3.a. and
                                        II.C.3.a(1), do you find the awarding of punitive
                                        damages to Ralph Birch against David Shortt
                                        appropriate?

                                        Yes: ___ No: ___

                                    (2) If you answered “Yes” as to question I.C.3.b. and
                                        II.C.3.a(2), do you find the awarding of punitive
                                        damages to Ralph Birch against Steven Jordan
                                        appropriate?

                                        Yes: ___ No: ___

Part III. Conclusion of Deliberations

Thank you.

Your deliberations are now complete, and you should have your jury foreperson note the
date and time below and sign in the space provided. YOUR ANSWERS MUST BE
UNANIMOUS. You should notify the marshal that you have reached a verdict. Your
completed Verdict Form will then be returned to the Court.

________      _________a.m./p.m.                  ___________________________________

Date          Time                                Signature of Foreperson

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